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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 UNITED STATES OF AMERICA,

        v.                                               CASE NO.: 6:20cr-1

 STACY TOBLER, SR,

               Defendant.


                                         ORDER


       Based upon the application of the Government, and for good cause shown therein, it is

hereby ORDERED that the United States’ Motion to Continue Sentencing be sealed until further

order of this Court, excepting only such disclosures as the Government deems necessary to

comply with its obligations under Brady v. Maryland, 373 U.S. 83 (1963).

                             SO ORDERED, this 5th day of October, 2020.




                                    R. STAN BAKER
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
